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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA,
                                                  Case No. 3:24-cr-00061
                   Plaintiff,

                   v.

 JESUS AMURAHABY CELESTIN-                        MOTION TO UNSEAL
 ORTEGA,                                          INDICTMENT, SEVER
 a/k/a FLACO;                                     REMAINING DEFENDANTS AND
 TRINIDAD TORRES MERAZ;                           SET FOR TRIAL
 EDGAR HERNANDEZ,
 a/k/a IVAN EDGAR HERNANDEZ
 VASQUEZ;
 MARIA DE LA CRUZ ESTRADA
 MORENO;
 JESSE ROCHA;
 RAFAEL BUENO-NAVA;
 RYAN JAMES STEVENS;
 CHRISTIAN IVAN GONZALEZ; and
 MARTINA LUCIA MENDEZ,

                   Defendants.

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Christopher C. Myers, Assistant United States Attorney,

hereby files this motion to unseal the indictment in the above-entitled matter. (Doc. 2.)

       In this case, defendants Edgar Hernandez and Martina Mendez remain fugitives

and their whereabouts remain unknown at this time. Investigators believe they are likely

in Mexico. As such, the United States moves to unseal the indictment as publication may

assist in locating these fugitives.
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       The United States further requests the Court sever Hernandez and Mendez from

the other defendants, all of whom have appeared, and requests the Court to set the

remaining defendants for trial.

       Dated: June 24, 2024

                                         MAC SCHNEIDER
                                         United States Attorney

                                  By:    ____________________________
                                         /s/ Christopher C. Myers
                                         CHRISTOPHER C. MYERS
                                         Assistant United States Attorney
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